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 3
                               UNITED STATES DISTRICT COURT
 4                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 5
 6 UNITED STATES OF AMERICA, )
                                 )
 7                   Plaintiff,  )               CASE NO.      CR06-308 JLR
                                 )
 8         v.                    )
                                 )
 9 MAURO MARTINS,                )               DETENTION ORDER
                                 )
10              Defendant.       )
                                 )
11 _____________________________ )
12 Offense charged:
13            Conspiracy to Commit Document Fraud, in violation of U.S.C., Sections
14            1028(a)(1), 1028(b)(1)(A)(ii), 1028(c)(3) and 1028(f).
15 Date of Detention Hearing: September 20, 2006
16            The Court, having conducted a contested detention hearing pursuant to Title 18
17 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
18 hereafter set forth, finds that no condition or combination of conditions which the defendant
19 can meet will reasonably assure the appearance of the defendant as required and the safety
20 of any other person and the community. The Government was represented by Ye-Ting Woo.
21 The defendant was represented by Christopher Black.
22       FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
23            (1) The defendant poses a risk of flight as he is a native and citizen of Brazil
24                 who is in the United States illegally; he has been ordered removed since
25                 2002 and is on ICE fugitive status.
26            (2) Due to nature of the offense alleged and defendant’s current fugitive

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 1                status, defendant is viewed as a risk of danger.
 2 Thus, there is no condition or combination of conditions that would reasonably assure
 3 future court appearances.
 4           It is therefore ORDERED:
 5           (l) Defendant shall be detained pending trial and committed to the custody of
 6                the Attorney General for confinement in a correctional facility separate, to
 7                the extent practicable, from persons awaiting or serving sentences, or being
 8                held in custody pending appeal;
 9           (2) Defendant shall be afforded reasonable opportunity for private
10                consultation with counsel;
11           (3) On order of a court of the United States or on request of an attorney for the
12                Government, the person in charge of the correctional facility in which
13                Defendant is confined shall deliver the defendant to a United States
14                Marshal for the purpose of an appearance in connection with a court
15                proceeding; and
16           (4) The clerk shall direct copies of this order to counsel for the United States,
17                to counsel for the defendant, to the United States Marshal, and to the
18                United States Pretrial Services Officer.
19           DATED this 21st day of September, 2006.
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22
                                                       MONICA J. BENTON
23
                                                       United States Magistrate Judge
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26


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